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                       UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY


     KEVIN BEASLEY, ET AL.,
     Plaintiff

                                 V.                         SUMMONS IN A CIVIL CASE
     MICHAEL FANELLI,
     Defendant
                                                            CASE
                                                            - ·-- ·----- - - , ·
                                                            ll.,.rTT'\ /fQD'O . 'l~ 1.4 __ ,..,~ 7 _ n n .. .,... _ 11-!.A c, _ ~ T {'
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        TO: (Name and address qf Defendant) :
               MICHAEL FANELLI

               1 Denise Ct., Manalapan, New Jersey, 07726




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)
     - or 60 days if you are the United States or a United States Agency, or an office or employee of
     the United States described in Fed. R. civ. P. 12 (a)(2) or (3) -- you must serve on the plaintiff
     an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
     Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose
     name and address are:

                1350 Avenue of the Americas, 2nd FL
                New York, New York 10019
                (d)646-416-6280
                jessica@mazzolalindstrom.com
         If you fail to respond, judgment by default will be entered against you for the relief
      demanded in the complaint. You also must file your answer or motion with the court.




       CLERK OF COURT




                                                                                 ISSUED ON 2024- 09-16 10:20:40, Clerk
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                                                            RETURN OF SERVICE
  Service of the Summons and complaint was made by DATE
  mcO)
  NAME OF SERVER (PRINT)                                  TITLE

   r,   ,_ ,_ .... , l.,   L . •       _.___,.                                                                            -
                                   '




                 CJ Served personally upon the defendant. Place where served:
                      _ _ _ _ __ _ _ __ _ _ _ _ __ _ _ _ _ _ _ __ __ __ __ _    ---------- --
                                                                                            ; or

                [1 Left the swnmons at the individual's residence or usual place of abode with (name):
                   ' _ _ _ _ _ _ _ _ _ _ _ _ a person of suitable age and discretion who resides there.
                     2_ ~~~->-- - - - ~,.:. wu·,..,... a -.upy ,u wt: i.uu1v1uuars 1asr Known aactrcss; or
                 [l Name of person with whom the summons and complaint were left::
                    _ _ _ _ _ _ _ __ _ _ _ __ __ _ ; or

                 1J   Returned unexecuted: _ _ _ __ __ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __

                      _ _ _ _ _ _ __ __ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ;or




                                                        STATEMENT OF SERVICE FEES
          ,L_ _ _ _ __ _ _ __ l~S-ERVICES .
  ~T_RA_v_E_                                                                               1ror_A_L_ _ _ _ _ _ _ _ _ _
                                                                                                                              1
                                                          DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing
                information
                contained in the Return of Service and Statement of Service Fees is true and correct.


              Executed on
                                                 Date               Si~nature of ServPr


                                                                    Address ofServer
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 MAZZOLA LINDSTROM LLP
 snan {Jessica) Chen
 Counsel for plaintiffs
 1350 Avenue of the Americas, 2nd Floor
 New York, New York 10019
 (d) 646-416-6280
 (m) 347-652-9046
 iessica@mazzolalindstram.com

 IN THE UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF NEW JERSEY
 -----------------------------------------------------------------x
 KEVIN BEASLEY and KEVIN BEASLEY
 STUDIO, LLC,


                           t'tamt1tts,                                Civil Action No.:

                                                                      Complaint
         -against-

 MICHAEL FANELLI,

                           uc;1c-11u1:1uL.

 -----------------------------------------------------------------x

         Plaintiffs Kevin Beasley and Kevin Beasley Studio, LLC, by and through their

 undersigned attorney, allege as follows for their complaint against defendant Michael Fanelli:



         1.       Plaintiff Kevin Beasley is a resident of the State and County of New York.

         2.       Plaintiff Kevin Beasley Studio, LLC is a New York domestic limited liability

 company with its principal place of business located in the County of Queens, State of New

 York. Kevin Beasley is the only member and owner of Kevin Beasley Studio, LLC. Therefore,

 for purposes of determining diversity jurisdiction, Kevin Beasley Studio, LLC is a New York

 domiciliary.



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          3.    Defendant Michael Fanelli is a resident of the State of New Jersey, with his

 address last known to be 1 Denise Ct., Manalapan, New Jersey, 07726.

                                 Diversity Jurisdiction and Venue
          1.    The court possesses jurisdiction over this case pursuant to 28 U.S.C. § 1332(a), as

 there is diversity between citizens of different states, and the amount in controversy exceeds

 $75,000.

          2.    Venue is proper in this case pursuant to 28 U.S.C. §1391(b), as defendant is a

 resident of the State of New Jersey.

                            Statement of Case: Action on a Judement
          3.    This is an action to recover moneys due on a judgment that was entered by the

 Supreme Court of the State of New York, County of New York.

          4.    On March 2, 2021, plaintiffs Kevin Beasley and Kevin Beasley Studio, LLC

 brought an action against Bayview Auto Wreckers, Inc. and Michael Fanelli in the Suoreme

 Court of the State ofNew York, County of New York.

          5.    On May 15, 2024,judgment from the Supreme Court of the State of New York,

 County of New York was entered in plaintiffs' favor and, jointly and severally, against Bayview

 Auto Wreckers, Inc. and Michael Fanelli, in the amount of $878,479.31 (See Exhibit A).

          6.    The judgment debtors are Bayview Auto Wreckers Inc., last known to be located

 at 3333 Richmond Terrace, Staten Island, New York 10303, and Michael Fanelli, who used to

 live in Woodbourne, New York, but is now residing at 1 Denise Ct., Manalapan, New Jersey

 07726.

          7.    The judgment debtors have failed to pay any portion of the judgment.

          8.    Plaintiffs Kevin Beasley and Kevin Beasley Studio, LLC therefore bring this

 action in this Court against defendant Michael Fanelli, because he is jointly and severally liable

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that this Court enter judgment in their favor and against defendant Fanelli for such amount owed.

         WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor and against

defendant in the amount of $878,479.31, plus interest at the legal rate measured from May 15,

2024, plus costs.

Dated: New York, New York
       September 13, 2024
                                                     Respectfully submitted,

                                                     MAZZOLA LINDSTROM, LLP




                                                     Shan (Jessica) Chen
                                                     Counsel for plaintiffs
                                                     1350 Avenue of the Americas, 2nd Floor

                                                      (d) 646-416-6280
                                                      (m) 347-652-9046
                                                      jcssica@mazzolalindstrom.com




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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
     KEVIN BEASLEY and KEVIN BEASLEY
     STUDIO, LLC,
                                   Plaintiff
      V.                                                 Civil Action No. - -3:24-cv-09172
                                                                             -------
     MICHAEL FANELLI,
                                   Defendant



                        CORPORATE DISCLOSURE STATEMENT

           Pursuant to Federal Rule of Civil Procedure 7 .1 (a)( 1), a disclosure statement is
           required to be filed by any non-government corporate party, including those seeking to
           intervene.


           The undersigned counsel certifies that Kevin Beasley Studio, LLC
           is a non-governmental corporation and that:


  □        This party 's parent corporation, and all publicly held corporations owning 10% or
           more of this party ' s stock, are listed here:




                                                OR
           This party does not have a parent corporation, nor is there any publicly held corporation
           that owns 10% or more of this party's stock.



                                                               Signature of Attorney

                                                               1350 Avenue of the Americas, 2nd Floor

                                                               Address
                                                               New York, NY 10019
                                                               City/State/Zip
                                                               09/19/2024
                                                               Date




                                                                                        DNJ-CMECF-005 (12/1 /2022)
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              UNITED STA TES DISTRICT COURT
    .------------DISTRICT
                  --      OF NEW JERSEY

       KEVIN BEASLEY AND KEVIN BEASLEY STUDIO , LLC .


                     Plaintiff(s),                      Civil No. J324 -cv-os112

             V.


     !MICHAEL FAN ELLI
                     Defendant( s).


             DISCLOSURE STATEMENT 1 PURSUANT TO FED. R. CIV. P. 7.l(a)(2)



                                 lndividual 2


          B
KEVIN BEASLEY                                                          State(s) of Citizenship
                                 Corporation 3
                                                                       INEW YORK
                                 Partnership 4
                               □ Limited Liability Company 5
~-------~                      □ Other


                               D1ndividual                             State(s) of Citizenship
KEVIN BEASLEY
STUDIO, LLC.
                               D Corporation                           INEW YORK

~--------~                     §     Partnership
                                     Limited Liability Company
                                     Other

           [{] Individual                                              State(s) of Citizenship
MICHAEL FANELLI
           D Corporation



~--------~
               Partnership

                               §
               Limited Liability Company
               Other
                                                                      !NEW JERSEY




In cases where one or more parties arc partnerships or LLCs, list all partners or members and their
citizenship. This space should also be used where there are more than three parties. Additional sheets
may be added as needed.

The sole member and owner of plaintiff Kevin Beasley Studio, LLC is plaintiff Kevin Beasley,
who is a New York domiciliary.
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    Pursuant to 28 U.S .C. § 1746 and Fed. R. Civ. P. 11, I certify that the foregoing is true and correct.


/s/ Shan (Jessica ) Ch en
                                                                 Date:




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    1
        This statement shall be filed by each party.
    2
       28 U.S.C. § 1332(a)(l); McNair v. Synapse Grp. Inc., 672 F.3d 213,219 n.4 (3d Cir. 2012) (citing
Krasnov v. Dinan, 465 F .2d 1298, 1300 (3d Cir. 1972) ("[M]crc residency in a state is insufficient for
purposes of diversity [of citizenship].")). The natural person must be domiciled in the state and a citizen of
that state. See Gilbert v. David, 235 U.S. 561 (1915); Lincoln Ben. Life Co. v. AEI Life, LLC, 800 F.3d 99
(3d Cir. 2015).
    3
       28 U.S.C. § 1332(c)(l) ("[A] corporation shall be deemed to be a citizen of every State and foreign
state by which it has been incorporated and of the State or foreign state where it has its principal place of
business .. ."); Hertz Corp. v. Friend, 559 U.S. 77 (2010); S. Freedman & Co., v. Raab, 180 F. App'x 316,
320 (3d Cir. 2006) (explaining that '"[i]n order to adequately establish diversity jurisdiction, a complaint
must set forth with specificity a corporate party ' s state of incorporation and its principal place of business, "'
and affirming dismissal of complaint alleging that corporation maintained "a principal place of business,"
rather than "its principal place of business" (quoting Joiner v. Diamond M Drilling Co., 677 F.2d 1035,
I 039 (5th Cir. 1982))). The parties are directed to list the state of incorporation and principal place of
business of the corporation.
    4
        A partnership, as an unincorporated entity, takes on the citizenship of each of its partners. Zambelli
Fireworks MFG. Co . v. Wood, 592 F.3d 412, 419 (3d Cir. 2010) (citation omitted). The parties arc directed
to list each partner and its citizenship.
    5
      The citizenship of an LLC is determined by the citizenship of each of its members. See Carden v.
Arkoma Assocs., 494 U.S. 185 (1990); Lincoln Ben. Life Co. v. AEI Life, LLC, 800 F.3d 99, 105 (3d Cir.
2015). The parties arc directed to list each member and its citizenship. If any member is itself a partnership,
limited liability company, or other unincorporated association, its partners or members and their citizenship
must be set forth separately. See Zambelli Fireworks MFG. Co. v. Wood, 592 F.3d 412, 420 (3d Cir. 2010)
("And as with partnerships, where an LLC has, as one of its members, another LLC, the citizenship of
unincorporated associations must be traced through however many layers of partners or members there may
be to determine the citizenship of the LLC. ")




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  SUPREME COURT OF T HE STA TE OF NEW YORK
  COUN TY OF NEW YORK
  ---------------------------------------------------------------------------------x
  KEVIN BEASLEY and KEVIN BEASLEY                                                      lndex No .: 651397/202 1
  STUDIO, LLC,

                     Plaintiffs,

           -againsl-
                                                                                        Judgment
  BA YV£EW AUTO WRECKERS , TNC. , MICHAEL
  FANELLI. and DO ES 1-10.

                     Defendants.
  ---------------------------------------------------------------------------------x
           Whereas, a summons and complaint was filed herein on March 2, 2021 by plaintiffs

  Kevin Beasley and Kevin Beasley Sludio LLC agai nst defendants Bayview Aulo Wreckers, lnc.

  and Mi chael Fanelli , seeki ng recove ry of compensatory, consequential and punitive damages due

  to. inter alia, fra ud and conversio n by the defendants of the plaintiffs' property, resul.ting in the

  total loss of value thercof(NYSCEF 0kt. #1);

           Whereas , defendants Bayview Auto Wreckers and Michael Fanelli were duly served with

  th e summons and complaint and the affidavits were du ly docketed (0kt. #2 & #3);

           Whereas , defendants fai led lo timely answer the complaint, and a molion for default was

  duly served and filed (0kt. # 12- 1X);

            Whereas, defendants. ha ving failed to oppose the molion for a default j udgmcnt, and the

   papers submitted in support thereof havin g been deemed good and suffic ient to demonstrate

   entitl ement to the relief sought, by decision and order of the Honorabl e Lawrence Love, dated

   Augusl 20, 202 1, ordered tbal plaintiffs have judg1nent against the defendants on each of their

   claims, in cluding fraud and conversion and directi ng an inquest on damages (0kt. I 9);




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                    Whereas, the order was du ly served with notice of entry on August 24, 202 l (0kt. 20);

                    Whereas, a note of issue for an inquest on damages was served and filed August 24, 2021

           (0kt. 2 1);

                    Whereas, the court ordered an inquest to proceed on November 29, 2023 , and the

           defendants were dul y served with notice of the inquest date (Dkt. 25);

                    W hereas , the matter was heard on November 29, 2023. on the inquest ca lendar. which the

           defendants failed to attend;

                    Whereas, attorneys Richard E. Lerner and Wendy J. Lindstrom appeared in behalf of the

           plaintiffs. and plaintiff Kevin Beasley appl.:arcd as a witness in his own behalf and on behalf of

           pl aintiff Ke vin Beasley Studio, LLC, and Mr. Casey Kaplan appeared as an expert and percipient

           witness on behalf of the plainti ft:5, and at the inquest the attorneys and the witnesses

           demonstrated entitlement to the damages sought on the claim of fraud;

                    Whereas. the Honorabl e Adam Silvera, Justice of the Supreme Court, New York County,

           upon review of th e affirmation of attorney Richard E. Lerner and the accompanying affi davits of

           Kevin Beasley and Casey Kaplan, along with the exhibits annexed to the Beasley and the Kapl an

           affidavits substantiated their claims to the damages sought, as previously demonstrated during

           the inquest (0kt. #25 ct seq.), issued an order on January 10, 2024 (0kt. 40) directing entry of

           judgment in pl aintiffs' favo r and against the defendants,

                    IT IS HEREBY,

                    ADJUDGED, that plaintiff Kevi n Beasley. of225 West 139th. New York , New York

            I0030 and plaintiff Kevin Beasley Studio, LLC. of37-24 24t h Street, Long Island City. New

            York 111 0 1, jointly recover from defendants Bayview Auto Wreckers lnc. , of 3333 Richmond

           Terrace, Staten Island. New York 10303, and Michael Fanelli of (las t known address) 562



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             Hasbrouk Road, Woodbourne, New York 12788, jointly and severally, the principal sum of

             $375,773 .49 in compensatory damages as to plaintiffs' claim of fraud, and $350,000 in

             excrnpla1y damages, also as to the claim of fraud , for a subtotal of $725,773.49 with interest

             accruing al the rate of 9 1% from Janua1y 22, 2022 , the date of di scovery of the fraud, such interes t

             bein g $ 15 1.()40.42 as of the dale of thi s judgment, and that plain ti ff have one bil l of costs of

             $ 1,665.40 , for a total judgment of $___
                                                     87_8-'-,4_7_9_.3_ 1 __ , and the plaintiff have execution    X
             therefor.




             Dated: New York , New York
                    Ma y JO, 2024




                 15th    May.     2024
                 Date

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         COUNTY OF NEW YORK
         -----------------------------------------------------------------------X
         KEVIN BEASLEY, KEVIN BEASLEY
         STUDIO, LLC,                                                                Index No.: 651397/2021

                                   Plaintiff,
                                                                                     f        2-2             \
                  -agamst-                                                                    FI LED AND
                                                                                              DOCKETED
         BAYVJEW AUTO WRECKERS. INC..                                                     May 15 2024
         MICHAEL FANELLI, DOES 1-10,                                                     AT      02 :45 P     M
                                                                                         N.Y. CO. CL.K'S OFFICE

                                    Defendants.
         -----------------------------------------------------------------------X




                                                          JUDGMENT




                  r-                               Richard E. Lerner
                  m
                  M                          MAZZOLA LINDSTROM. LLP
                  ~

                  LO                         1350 A venue of the Americas. 2nd Floor
                  <.O
                                             91 7.584.4864
                                             ri charcl(a,Jnnzz(il_nlinds!rorn_.com




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 JS44 (Rcv. 04/ ~ s e 3:24-cv-09172-MAS-RL~Ivit9~m ~           /20/24 Page 1 of 2 PagelD: 11
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules or court. Thi s fonn , approved by the Judicial C onrcrcnce or the United States in September 1974, is required for the use or the Clerk or Court for the
 purpose of initiating the civil do cket sheet. (SEE INSTRUCTIONS ON NEXT !'AGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                                    DEFENDANTS
            Ke vin Beasley and Kevin Beasley Studio, LLC.                                                                                Michael Fanelli

    (b)   County or Residence or First Listed Plaintiff                         New York                             County or Residen ce or First Listed De fo ndant                 Monmouth County
                                    (l:XCEPT IN U.S. PLAINTIFF CASJ:.S)                                                                      {IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE:      IN LAND CONDEMNATION CASES, USE Tl!E LOCA T!ON OF
                                                                                                                                THE rR/\CT OF I.AND INYO!. VED.
    (C)   Attorneys {Vim, Name, Address, and T.tephon e Nt,mber)                                                      Attorneys (If Known)
                    Shan (Jessica) C hen
                    Mazzo la Lindstro m LLP, 1350 Avenue of the Americas, 21'L
                    New York , NY I 0019 646-416-6280

II. BASIS OF JURISDICTION (Placea11 "X" in One Box Only)                                                Ill. CITIZENSHIP OF PRINCIPAL PARTIES(Placean"X"inOneBoxforPlaintiff
                                                                                                                  (r'or niversity Cases 011ly)                                   and One Box for Defenda11t)
01      U.S. Government                  03       Federal Question                                                                           PTF        DEF                                         PTF        DEF
           Plaintiff                                (U.S. Governme11t Not a Party)                          Citizen of This State              O
                                                                                                                                               I        ~ I     Incorporated or Principal Place     O    4     O4
                                                                                                                                                                  of Business In This State

02      U. S. Government
           Dcfondant
                                        ~    4    Diversity
                                                    (Indicate Citizenship of Parties in Item Ill)
                                                                                                            Citizen of Another State           ~   2    □ 2     Incorporated and Principal Place
                                                                                                                                                                  of Business In Another State
                                                                                                                                                                                                    Kl         Os
                                                                                                            Citizen or Subject of a            03       □ 3     Foreign Nation                      06         06
                                                                                                              Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                  Click here for: Nature fSuit Code Descri tions.
           CONTRACT                                                  TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES




~                                                                                                                                                  B
  11 0 Insurance                            PERSONAL INJURY                  PERSO NAL INJ URY                 625 Drug Related Seizure                422 Appeal 28 USC 158           375 False Claims Act
  120 Marine                               310 Airplane                  O 365 Personal Injury -                   of Property 21 US!: 881             423 Withdrawal                  376 Qui Tam (31 USC
  130 Mil ler Act                          3 15 Airpl ane Product              Product Liability               690 Other                                   28 USC 157                        3729(a))
  140 Negotiable Instrument                      Liability               O 367 Health Care/                                                              INTELLECTUAL                  400 State Reapportionment
0 150 Recovery of Overpayment              320 Assault, Libel &                  Pharmaceutical                                                        PROPERTY RIGHTS                 4 IO Antitrust
       & l·.nforcement or Judgment               Slander                         Personal Injury

                                                                                                                                                   §   820 Copyrights                  430 Banks and Banking
0151 Medicare Act                          330 Federal Employers'                Produc t Liability                                                    830 Patent                      450 Commerce
0 152 Recovery of Defaulted                      Liability               O   368 Asbestos Persona l                                                    835 Patent - Abbreviated        460 Deportation
        Student I .oans                    340 Marine                             Injury Product                                                           New Drug Application        470 Racketeer ln nucnccd and
       (Excludes Veterans)                 345 Marine Product                     Liability                                                                                                 Corrupt Organizations
0 153 Recovery of Overpayment
                                                                                                                                                   □   840 Trademark
                                                 Liability                 P•: RSONAL PROPERTY                                                                                         480 Consumer Credit
       of Veteran ' s Benefits             350 Motor Vehicle             O   370 Other Fraud
                                                                                                                                                   □   880 Defend Trade Secrets
                                                                                                                                                                                             (1 5 USC 1681 or 1692)
                                                                                                                                                           Act of2016
0 160 Stockholders ' Suits                 355 Motor Vehicle             O   371 l'ruth in Lendi ng                /\ct                                                                485 Telephone Consumer
~ 190 Other Omm,,ct                             Product Liability        O   380 Other Personal                720 Labor/Management                    SOCIAL SECURITY                       Protection Act




                                                                                                                                                   ~
0 195 Contract Product Liability           360 Other Personal                    Property Damage                   Relations                           861 HI/\ (139511)               490 Cable/Sat TV
D 196 Franchise                                 Injury                   D   385 Property Damage               740 Railway Labor Ac t                  862 Black Lung (923)            850 Securities/Commodities/
      J UDG M•; NT icNFO RC lcM          , 362 Personal Injury -                 Prod uct Liability            751 Family and Medical                  863 DIWC/D IWW (405(g))               Exchange
                                                Medical Malpraclicc                                                Leave Act                           864 SS!D Title XV I             890 Other Statutory Actions
1,..._.....;====.:...::::.:.:...:..._ _~,_.=I.;.;,;;;.:;==:.:S;___-4..;.;========~~ 790 Other Labor Litigation                                     □   865 RSI (405(g))                891 Agricultural Acts
    210 Land Condemnation                   440 Other Civil Rights                                             791 Employee Retirement                                                 893 Environmental Matters
0 220 foreclosure                           441 Voting                                                             Income Security Act                                                 895 Freedom of Information


§
0
    230 Rent I.case & 1•:jcctmcnt
    240 Tons to Land
    245 Ton Product Liabi lity
    290 All Other Real Propcny
                                            442 Employment
                                            443 Housing/
                                                Accommodations
                                            445 Amer. w/Disabilities -
                                                                                                                                                   □ 870 Taxes (U.S . Plaintiff
                                                                                                                                                           or Defendant)
                                                                                                                                                   □ 871 IR S- Third Pany
                                                                                                                                                            26 use 7609
                                                                                                                                                                                             Act
                                                                                                                                                                                       896 Arbitration
                                                                                                                                                                                       899 Administrative Procedure
                                                                                                                                                                                            /\ct/Review or Appeal of
                                                                                                                                                                                            Agency Decision
                                                                                                                                                                                       950 Constitutio nality of
                                                                                                                                                                                            State Statutes

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                                                                                 Conditions of'
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V, ORIGIN (Place an "X " in One Box On ly)
~ I     Original           D 2 Removed from                    03        Remanded from                 D 4 Re instated or D 5 Transferred from D 6 Multidistrict                            D 8 Multidistrict
        Proceeding                  State Court                          Appellate Court                    Reopened                   Another District                Litigation -                Litigation -
                                                                                                                                       (specify)                       Transfer                    Direct rile
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                                           28 U.S.C. §1332(a)
VI. CAUSE OF ACTION > - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                             Brief description of cause:
                                                                                    Action on a judgment

 VH. REQUESTED IN                            0     C H ECK JF THIS JS A CLASS ACTION                           DEMAND$                                       Cl JECK YES only if demanded in c~ laint:
     COMPLAINT:                                    UNDER RULE 2 3, l'. R. Cv.P .
                                                                                                                          ✓                                  JURYDEMAND:                O Yes      '\l] No

 VIII. RELATED CASE(S)
                                                  (See instructions) :
       IF ANY                                                             JUDGE
                                                                                          ------------------ DOCKET NUMB ER
 DATE                                                                        SIGNATURE OF ATTORNEY OF RECORD
             09/20/2024                                                                   /s/ Shan (Jessica) Chen

 FOR OFFICE USE ONLY

    RECEIPT#                        AMO UNT                                       APPLYING IFP                                        JU DGE                            MAG.JU DGE
                            Case 3:24-cv-09172-MAS-RLS                                            Document 14-3
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                            INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                                          Authority For Civil Cover Sheet

   c JS 44 c1v11 cover sneet ano me mrunmuiuu -.u"'""'"" ...,,.,: .. ,;.;:::;.;;c :~/:::·:: -:·:,•· - •;;-'.-...,..~•, t'-,- f. 1;r- i;,• and s~icc of pleading or other papers as
  1uired by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September l'J"/4, 1s
  1uircd for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
  1urt for each civil complaint filed . The attorney filing a case should complete lhe form as follows:



  a)           Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
               only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
               the official, giving both name and title.
               County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
               '""" v: ;-.... ,6 . ; .. ·~ .:. i:,:~·.;·.:::: _.:.~~:. ~-,~, ·•,.- --. -..,.,,, ..,.- .1-.,. ~n11r-tv in which the first listed defendant resides at the time of filing. (NOTE: In land
               condemnation cases, the county of residence of the "defendant" is lhe location of the tract of!and involved.)
 (c)           Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there arc several attorneys, list them on an attachment, noting
               in this section "(sec attachment)" .

                Jurisdictl!'n. The basis of jurisdiction is set fortri'under Rule 8(a), F.R.Cv.P., which requires that juri sdictions be shown in pleadings. Place an "X"
               in one ofThe't!o~tlli: itthe;eis mqre than one basis of jurisdiction, precedence is given in the order shown below.
               United States plafritifr. ( \) Ju~ di ctil)n bated op 2,~ U.~.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
               United States defendant. (2) When the pJ-ainti~s sti!11g the \;Jni,ted States, its of.fi~ers,o1.agencies, place an "X" in this box .
               "~rl P• 1 o~•.c~ti 0n . (3) This refers to suits under 28 U.S .C. 1331 ,'wlre JJrisdiction arises ut'lder the Constitution of the United States, an amendment
                     0


               to the Con~titution, an act of Congress or a treaty or me unm:u ,3,11,c~. "'~"~"~ ~ ..... ~ ..:.~ ::.~~ :_ :: ;:-~:·;·, •h.- Pc;: ;,'•'-•if'f' ~r defenr!ant cone takes
               precedence, and 1'ox 1 or 2 shoµld be marked.
               Diversity of citizl nship._, (4} This refers ta. sujts under 2)! U.S.~. 1332, where Pai:ties are citizens of diff~,r~pt..i;ta~s. When Box 4 is checked, the
               citizenship of the different parties must be cliecked, .(See Section Hl below; ijO!E;_fedfa! que;1tion actions take precedence over diversity
               cases.)                                                                  •      •    • ;        . ,               •

II.            Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
               section for each principal party.

t v.            J'larurc u, -3 uu. ;~""" "" • ;~-- _-. :.-.. ::..;:;: _-;:: -' ,.- ,1-.,... ,. <>• IT'.u!tin1e nah1re of suit codes associated with the case, pick the nature of suit code
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               that is most applicable. Click here for: Nature of Suit Code Descriptions.                                   ,                      • ,.

V.         , Orifin. Place an "X" in one of the seven boxes.
             Origmal Proceedings. (1) Cases which originate in the United States district courts.
             Rembved from State Court. (2) Proceedings initiated in state courts m!y,be removed. to the gistrict courts under Title 28 U.S.C., Section 1441 .
             Repianded from Appellate Court. (3) Check this box for cases remanded'to theaistrict coUJ1 for furtht:r actjon. Use the date of remand as the filing
            ·tlate. •, · ,                                                                                              • '           .
              ~e1J1sta!ed or Rebpened. (j) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
             T•9.nsfrrred fro AJ11ota:r,l)iitrict. (6)'Fo.r cases trans:(et'Fe~ under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
             multidistrict litigation transters.     -        4
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              Multidistrict Litigation - Transfer. (6) Check this bQl<. )Nhen. a ;n~tidist, ct case is trai:sferred into the district under aulhonty ot I me .t.o u •.,.-:.
              Section 1407.                                                     ,#       .. ,.    I ii - . ,:-. . \
            • Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same Aistrltt as the M ster MDL docket. PLEASE

                statute.'
                                             .
              N•OTE TKAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical recor~s and is no longer relevant due to changes in
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VT.              Cause of~ ction. Report the civil ;tatute ~rectly related (o tile                                cti~~
                                                                                    of action and giv~ a br,ief "!i~stription of tpe cause. Do not cite jurisdictional
                statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553'Brief Descriptiofi: u J authorii;d rec~ptio.t1 of ci!ble servi1;e.

VII.             Requested in Complaint. Class Action. Place an "X" in this box 11 you are nuug" -.ia» "~"v" ~ ..;;.;,~ :'._'.: ~. ~,.,, r~ -'.' .
                Demand. In this space enter the actual dollar amount being demanded or 'ndicate other demand, such as a preliminary mJunctwn.
                Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
                                     1
vm.              Related Cases. Tbis section of the Ji 4'4 is useq lO reference related cases, if any. If there are related cases, insert the docket numbers and the
          •·    correspon,ding judge names for such cases.        ·- •, > , ~ .        ., • • •,      : •       "• •         . .                     ••
                  Ii .-
 Date a~d Attorney Signatur~ . . 0 t11 11d sign thi_ civil cover sheet.                                                                           •
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                                 Exhibit A
         Case 3:24-cv-09172-MAS-RLS
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